            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 1 of 14



1
2

3

4

5

6

7                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON,
8                                 SEATTLE DIVISION
9     LOUIS SCARANTINO, individually and on
10    behalf of all others similarly situated,
                                                    NO. 2:17-1601
11                         Plaintiff,
                                                    CLASS ACTION COMPLAINT
12           v.
13    ONVIA, INC., D. VAN SKILLING,       JURY DEMAND
14    JEFFREY C. BALLOWE, JAMES L.
      BRILL, ROGER L. FELDMAN, RUSS
15    MANN, GEORGE I. STOECKERT,
      PROJECT DIAMOND INTERMEDIATE
16    HOLDINGS CORP., PROJECT OLYMPUS
      MERGER SUB, INC., and DELTEK, INC.,
17

18                         Defendants.
19      COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934
20          Plaintiff, by his undersigned attorneys, for this complaint against defendants,
21   alleges upon personal knowledge with respect to himself, and upon information and
22   belief based upon, inter alia, the investigation of counsel as to all other allegations
23   herein, as follows:
24                                      NATURE OF THE ACTION
25          1.     This action stems from a proposed transaction announced on October 5,
26   2017 (the “Proposed Transaction”), pursuant to which Onvia, Inc. (“Onvia” or the
27   “Company”) will be acquired by Project Diamond Intermediate Holdings Corp.
     CLASS ACTION COMPLAINT - 1
             Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 2 of 14



1    (“Parent”) and its wholly-owned subsidiary, Project Olympus Merger Sub, Inc. (“Merger
2    Sub”), which are affiliates of Deltek, Inc. (“Guarantor,” and together with Parent and
3    Merger Sub, “Deltek”).
4           2.      On October 4, 2017, Onvia’s Board of Directors (the “Board” or
5    “Individual Defendants”) caused the Company to enter into an agreement and plan of
6    merger (the “Merger Agreement”) with Deltek. Pursuant to the terms of the Merger
7    Agreement, Deltek commenced a tender offer, which is scheduled to expire on
8    November 16, 2017, to acquire all of the Company’s outstanding shares of common
9    stock for $9.00 per share in cash.
10          3.      On   October     19,   2017,   defendants    filed   a   Schedule   14D-9
11   Solicitation/Recommendation Statement (the “Solicitation Statement”) with the United
12   States Securities and Exchange Commission (“SEC”) in connection with the Proposed
13   Transaction.
14          4.      The Solicitation Statement omits material information with respect to the
15   Proposed Transaction, which renders the Solicitation Statement false and misleading.
16   Accordingly, plaintiff alleges herein that defendants violated Sections 14(e), 14(d), and
17   20(a) of the Securities Exchange Act of 1934 (the “1934 Act”) in connection with the
18   Solicitation Statement.
19                                 JURISDICTION AND VENUE
20          5.      This Court has jurisdiction over all claims asserted herein pursuant to
21   Section 27 of the 1934 Act because the claims asserted herein arise under Sections
22   14(e), 14(d), and 20(a) of the 1934 Act and Rule 14a-9.
23          6.      This Court has jurisdiction over defendants because each defendant is
24   either a corporation that conducts business in and maintains operations within this
25   District, or is an individual with sufficient minimum contacts with this District so as to
26   make the exercise of jurisdiction by this Court permissible under traditional notions of
27   fair play and substantial justice.
     CLASS ACTION COMPLAINT - 2
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 3 of 14



1          7.      Venue is proper under 28 U.S.C. § 1391 because a substantial portion of
2    the transactions and wrongs complained of herein occurred in this District.
3                                           PARTIES
4          8.      Plaintiff is, and has been continuously throughout all times relevant
5    hereto, the owner of Onvia common stock.
6          9.      Defendant Onvia is a Delaware corporation and maintains its principal
7    executive offices at 509 Oliva Way, Suite 400, Seattle, Washington 98101. Onvia’s
8    common stock is traded on the NasdaqCM under the ticker symbol “ONVI.”
9          10.     Defendant D. Van Skilling (“Skilling”) has served as a director of Onvia
10   since November 2004, and as Chairman of the Board since November 2010.
11         11.     Defendant Jeffrey C. Ballowe (“Ballowe”) has served as a director of
12   Onvia since December 1999.
13         12.     Defendant James L. Brill (“Brill”) has served as a director of Onvia since
14   March 2004.
15         13.     Defendant Roger L. Feldman (“Feldman”) has served as a director of
16   Onvia since March 2004.
17         14.     Defendant Russ Mann (“Mann”) has served as a director, President, and
18   Chief Executive Officer (“CEO”) of Onvia since January 2017.
19         15.     Defendant George I. Stoeckert (“Stoeckert”) has served as a director of
20   Onvia since June 2015.
21         16.     The defendants identified in paragraphs 10 through 15 are collectively
22   referred to herein as the “Individual Defendants.”
23         17.     Defendant Guarantor is a Delaware corporation, an affiliate of Parent
24   and Merger Sub, and has guaranteed all of Parent’s and Merger Sub’s obligations
25   under the Merger Agreement.
26         18.     Defendant Parent is a Delaware corporation, the sole stockholder of
27   Guarantor, and a party to the Merger Agreement.
     CLASS ACTION COMPLAINT - 3
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 4 of 14



1           19.    Defendant Merger Sub is a Delaware corporation, a wholly-owned
2    subsidiary of Parent, and a party to the Merger Agreement.
3                               CLASS ACTION ALLEGATIONS
4           20.    Plaintiff brings this action as a class action on behalf of himself and the
5    other public stockholders of Onvia (the “Class”).          Excluded from the Class are
6    defendants herein and any person, firm, trust, corporation, or other entity related to or
7    affiliated with any defendant.
8           21.    This action is properly maintainable as a class action.
9           22.    The Class is so numerous that joinder of all members is impracticable.
10   As of October 17, 2017, there were 7,322,893 shares of Onvia common stock
11   outstanding, held by hundreds, if not thousands, of individuals and entities scattered
12   throughout the country.
13          23.    Questions of law and fact are common to the Class, including, among
14   others: (i) whether defendants violated the 1934 Act; and (ii) whether defendants will
15   irreparably harm plaintiff and the other members of the Class if defendants’ conduct
16   complained of herein continues.
17          24.    Plaintiff is committed to prosecuting this action and has retained
18   competent counsel experienced in litigation of this nature. Plaintiff’s claims are typical
19   of the claims of the other members of the Class and plaintiff has the same interests as
20   the other members of the Class. Accordingly, plaintiff is an adequate representative of
21   the Class and will fairly and adequately protect the interests of the Class.
22          25.    The prosecution of separate actions by individual members of the Class
23   would create the risk of inconsistent or varying adjudications that would establish
24   incompatible standards of conduct for defendants, or adjudications that would, as a
25   practical matter, be dispositive of the interests of individual members of the Class who
26   are not parties to the adjudications or would substantially impair or impede those non-
27   party Class members’ ability to protect their interests.
     CLASS ACTION COMPLAINT - 4
             Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 5 of 14



1           26.    Defendants have acted, or refused to act, on grounds generally
2    applicable to the Class as a whole, and are causing injury to the entire Class.
3    Therefore, final injunctive relief on behalf of the Class is appropriate.
4                                 SUBSTANTIVE ALLEGATIONS
5    Background of the Company
6           27.    Onvia is the leader in sales intelligence and acceleration for businesses
7    selling to the public sector. Onvia provides enterprise, mid-market, and small business
8    customers with the most comprehensive set of federal, state, and local government
9    contracting leads. Clients grow their sales pipeline with access to bids, requests for
10   proposals, and future spending data, along with agency contacts, competitor
11   information, and market analytics.
12          28.    The Company is a leading commerce intelligence company in the
13   business-to-government (“B2G”) marketplace.          Since its incorporation in 2000, the
14   Company has developed domain expertise and advanced technologies to curate data
15   on millions of exchanged contracts, agencies and decision makers, vendors and
16   channels, projects and investment plans, awards records and market trends.
17          29.    Onvia’s B2G Intelligence System (“B2GIS”) delivers quality leads,
18   process agility, and strategic foresight, equipping companies of all sizes to grow their
19   public sector business and help government agencies gain procurement efficiency.
20   B2GIS applies advanced data science and search technologies to transform
21   unstructured government contracting data into meaningful commerce intelligence for
22   buyers and sellers. Businesses leverage this system to increase their sales pipeline,
23   pursue opportunities and make strategic decisions. Government agencies employ the
24   B2GIS to improve process transparency and efficiency, identify potential suppliers,
25   and to meet their fiduciary responsibilities to their constituents.
26
27
     CLASS ACTION COMPLAINT - 5
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 6 of 14



1    The Solicitation Statement Omits Material Information, Rendering It False and
2    Misleading

3           30.    Defendants filed the Solicitation Statement with the SEC in connection

4    with the Proposed Transaction.

5           31.    The Solicitation Statement omits material information regarding the

6    Proposed Transaction, which renders the Solicitation Statement false and misleading.

7           32.    First, the Solicitation Statement omits material information regarding the

8    Company’s financial projections and the valuation analyses performed by the

9    Company’s financial advisor in connection with the Proposed Transaction, GCA

10   Advisors, LLC (“GCA”).

11          33.    The disclosure of projected financial information is material because it

12   provides stockholders with a basis to project the future financial performance of a

13   company, and allows stockholders to better understand the financial analyses

14   performed by the company’s financial advisor in support of its fairness opinion.

15   Moreover, when a banker’s endorsement of the fairness of a transaction is touted to

16   shareholders, the valuation methods used to arrive at that opinion as well as the key

17   inputs and range of ultimate values generated by those analyses must also be fairly

18   disclosed.

19          34.    According to the Solicitation Statement, in performing its Discounted

20   Cash Flow Analysis, GCA used the Company’s “cash flows projected through calendar

21   year 2020.” The defendants, however, failed to (but must) disclose the Company’s

22   cash flow projections, as well as the line item projections used to calculate those cash

23   flows, in the Solicitation Statement.

24          35.    With respect to GCA’s Discounted Cash Flow Analysis, the Solicitation

25   Statement fails to disclose: (i) the Company’s projected “cash flows” for years 2017

26   through 2020, and the line item projections used to calculate those cash flows; (ii)

27   whether GCA’s analysis accounted for the Company’s net operating loss

     CLASS ACTION COMPLAINT - 6
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 7 of 14



1    carryforwards, and if so, the amount of those net operating loss carryforwards, and if
2    not, the reason the analysis does not; (iii) the specific inputs and assumptions
3    underlying the discount rate range of 17.5% to 22.5% selected by GCA in its analysis;
4    and (iv) the perpetuity growth rate range implied by GCA’s analysis.
5           36.    With respect to GCA’s Comparable Company Analysis, the Solicitation
6    Statement fails to disclose the individual multiples and financial metrics for each of the
7    companies observed by GCA in the analysis.
8           37.    With respect to GCA’s Comparable Transactions Analysis, the
9    Solicitation Statement fails to disclose the individual multiples and financial metrics for
10   each of the transactions observed by GCA in the analysis.
11          38.    The omission of this material information renders the Solicitation
12   Statement false and misleading, including, inter alia, the following sections of the
13   Solicitation Statement: (i) “Opinion of the Company’s Financial Advisor;” and (ii)
14   “Certain Company Forecasts.”
15          39.    The Solicitation Statement omits material information relating to potential
16   conflicts of interest of GCA. Full disclosure of investment banker compensation and all
17   potential conflicts is required due to the central role played by investment banks in the
18   evaluation, exploration, selection, and implementation of strategic alternatives.
19          40.    Specifically, the Solicitation Statement states: “The aggregate fee
20   payable to GCA Advisors in connection with the Transactions is $1.5 million, the
21   substantial majority of which is contingent upon the successful consummation of the
22   Offer. A portion of the fee also became payable upon delivery of GCA Advisors’
23   fairness opinion on October 4, 2017.” The Solicitation Statement must disclose the
24   amount of compensation that is contingent upon consummation of the Proposed
25   Transaction. This information is necessary to allow the Company’s stockholders to
26   assess for themselves whether, and to what extent, GCA was incentivized to ensure
27   that the Proposed Transaction was consummated by issuing a favorable fairness
     CLASS ACTION COMPLAINT - 7
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 8 of 14



1    opinion.
2           41.    Further, the Solicitation Statement states that “GCA Advisors has not, at
3    any time, provided financial advisory services for Parent,” but it fails to disclose
4    whether GCA has provided any services to Parent’s affiliates, including Guarantor, in
5    the past.
6           42.    The omission of this material information renders the Solicitation
7    Statement false and misleading, including, inter alia, the following sections of the
8    Solicitation Statement: (i) “Opinion of the Company’s Financial Advisor;” and (ii)
9    “Background of the Offer; Reasons for the Recommendation of the Board.”
10          43.    The Solicitation Statement omits material information regarding potential
11   conflicts of interest of the Company’s executive officers.
12          44.    The Solicitation Statement currently states that, [a]s of the date of this
13   Schedule 14D-9, none of the Company’s executive officers has entered into a new
14   employment arrangement or agreement with Parent or any of its subsidiaries.”
15   However, in the joint press release announcing the Proposed Transaction, the
16   Company’s CEO, Individual Defendant Mann, stated that, “[a]s part of Deltek, we
17   intend to focus on innovating and expanding our data and product offerings, which will
18   benefit our customers, employees and partners,” thus implying that Mann and
19   potentially other Company employees will continue to be employed following the close
20   of the Proposed Transaction.
21          45.    The Solicitation Statement must disclose the timing and nature of all
22   communications regarding future employment of Onvia’s officers, including who
23   participated in all such communications.           This information is necessary for
24   stockholders to understand potential conflicts of interest of management and the
25   Board, as that information provides illumination concerning motivations that would
26   prevent fiduciaries from acting solely in the best interests of the Company’s
27   stockholders. Moreover, this information is necessary regardless of whether those
     CLASS ACTION COMPLAINT - 8
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 9 of 14



1    discussions did or did not result in a formal agreement on the terms of post-merger
2    employment.
3          46.     The omission of this material information renders the Solicitation
4    Statement false and misleading, including, inter alia, the following sections of the
5    Solicitation Statement: (i) “Arrangements Between the Company and Parent,
6    Purchaser and Deltek;” and (ii) “Background of the Offer; Reasons for the
7    Recommendation of the Board.”
8          47.     The Solicitation Statement omits material information regarding the
9    background of the Proposed Transaction. The Company’s stockholders are entitled to
10   an accurate description of the process the directors used in coming to their decision to
11   support the Proposed Transaction.
12         48.     The Solicitation Statement indicates that the Company entered into a
13   non-disclosure agreement, which contained a “standstill” provision, with “Party A,” and
14   that the Company “negotiated and executed 14 additional non-disclosure agreements
15   with prospective bidders” between July 14 and August 16, 2017.            The Solicitation
16   Statement, however, fails to disclose whether those 14 additional non-disclosure
17   agreements contain standstill provisions, and whether any of the non-disclosure
18   agreements contain “don’t ask, don’t waive” provisions that are or were preventing
19   those counterparties from requesting a waiver of the standstill provisions so that they
20   can submit a superior offer to acquire the Company.           Without this information,
21   stockholders may have the mistaken belief that, if these potentially interested parties
22   wished to come forward with a superior offer, they are or were permitted to do so,
23   when in fact they are or were contractually prohibited from doing so.
24         49.     The omission of this material information renders the “Background of the
25   Offer; Reasons for the Recommendation of the Board” section of the Solicitation
26   Statement false and misleading.
27         50.     The   above-referenced    omitted    information,   if    disclosed,   would
     CLASS ACTION COMPLAINT - 9
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 10 of 14



1    significantly alter the total mix of information available to the Company’s stockholders.
2                                              COUNT I
3        (Claim for Violation of Section 14(e) of the 1934 Act Against Defendants)
4

5           51.      Plaintiff repeats and realleges the preceding allegations as if fully set
6    forth herein.
7           52.      Section 14(e) of the 1934 Act states, in relevant part, that:
8           It shall be unlawful for any person to make any untrue statement of a
            material fact or omit to state any material fact necessary in order to make
9           the statements made, in the light of the circumstances under which they
            are made, not misleading . . . in connection with any tender offer or
10
            request or invitation for tenders[.]
11          53.      Defendants disseminated the misleading Solicitation Statement, which
12   contained statements that, in violation of Section 14(e) of the 1934 Act, in light of the
13   circumstances under which they were made, omitted to state material facts necessary
14   to make the statements therein not misleading.
15          54.      The Solicitation Statement was prepared, reviewed, and/or disseminated
16   by defendants.
17          55.      The Solicitation Statement misrepresented and/or omitted material facts
18   in connection with the Proposed Transaction as set forth above.
19          56.      By virtue of their positions within the Company and/or roles in the
20   process and the preparation of the Solicitation Statement, defendants were aware of
21   this information and their duty to disclose this information in the Solicitation Statement.
22          57.      The omissions in the Solicitation Statement are material in that a
23   reasonable shareholder will consider them important in deciding whether to tender
24   their shares in connection with the Proposed Transaction. In addition, a reasonable
25   investor will view a full and accurate disclosure as significantly altering the total mix of
26   information made available.
27          58.      Defendants knowingly or with deliberate recklessness omitted the
     CLASS ACTION COMPLAINT - 10
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 11 of 14



1    material information identified above in the Solicitation Statement, causing statements
2    therein to be materially incomplete and misleading.
3           59.      By reason of the foregoing, defendants violated Section 14(e) of the
4    1934 Act.
5           60.      Because of the false and misleading statements in the Solicitation
6    Statement, plaintiff and the Class are threatened with irreparable harm.
7           61.      Plaintiff and the Class have no adequate remedy at law.
8                                             COUNT II
9             (Claim for Violation of 14(d) of the 1934 Act Against Defendants)
10          62.      Plaintiff repeats and realleges the preceding allegations as if fully set
11   forth herein.
12          63.      Section 14(d)(4) of the 1934 Act states:
13          Any solicitation or recommendation to the holders of such a security to
            accept or reject a tender offer or request or invitation for tenders shall be
14          made in accordance with such rules and regulations as the Commission
            may prescribe as necessary or appropriate in the public interest or for
15
            the protection of investors.
16          64.      Rule 14d-9(d) states, in relevant part:
17          Any solicitation or recommendation to holders of a class of securities
            referred to in section 14(d)(1) of the Act with respect to a tender offer for
18          such securities shall include the name of the person making such
19          solicitation or recommendation and the information required by Items 1
            through 8 of Schedule 14D-9 (§ 240.14d-101) or a fair and adequate
20          summary thereof[.]

21   Item 8 requires that directors must “furnish such additional information, if any, as may

22   be necessary to make the required statements, in light of the circumstances under

23   which they are made, not materially misleading.”

24          65.      The Solicitation Statement violates Section 14(d)(4) and Rule 14d-9

25   because it omits the material facts set forth above, which renders the Solicitation

26   Statement false and/or misleading.

27          66.      Defendants knowingly or with deliberate recklessness omitted the

     CLASS ACTION COMPLAINT - 11
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 12 of 14



1    material information set forth above, causing statements therein to be materially
2    incomplete and misleading.
3           67.      The omissions in the Solicitation Statement are material to plaintiff and
4    the Class, and they will be deprived of their entitlement to make a fully informed
5    decision with respect to the Proposed Transaction if such misrepresentations and
6    omissions are not corrected prior to the expiration of the tender offer.
7           68.      Plaintiff and the Class have no adequate remedy at law.
8                                            COUNT III
9                      (Claim for Violation of Section 20(a) of the 1934 Act
10                        Against the Individual Defendants and Deltek)
            69.      Plaintiff repeats and realleges the preceding allegations as if fully set
11
     forth herein.
12
            70.      The Individual Defendants and Deltek acted as controlling persons of
13
     Onvia within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue
14
     of their positions as officers and/or directors of Onvia and participation in and/or
15
     awareness of the Company’s operations and/or intimate knowledge of the false
16
     statements contained in the Solicitation Statement filed with the SEC, they had the
17
     power to influence and control and did influence and control, directly or indirectly, the
18
     decision making of the Company, including the content and dissemination of the
19
     various statements that plaintiff contends are false and misleading.
20
            71.      Each of the Individual Defendants and Deltek was provided with or had
21
     unlimited access to copies of the Solicitation Statement alleged by plaintiff to be
22
     misleading prior to and/or shortly after these statements were issued and had the
23
     ability to prevent the issuance of the statements or cause them to be corrected.
24
            72.      In particular, each of the Individual Defendants had direct and
25
     supervisory involvement in the day-to-day operations of the Company, and, therefore,
26
     is presumed to have had the power to control and influence the particular transactions
27
     CLASS ACTION COMPLAINT - 12
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 13 of 14



1    giving rise to the violations as alleged herein, and exercised the same.            The
2    Solicitation Statement contains the unanimous recommendation of the Individual
3    Defendants to approve the Proposed Transaction. They were thus directly connected
4    with and involved in the making of the Solicitation Statement.
5          73.     Deltek also had direct supervisory control over the composition of the
6    Solicitation Statement and the information disclosed therein, as well as the information
7    that was omitted and/or misrepresented in the Solicitation Statement.
8          74.     By virtue of the foregoing, the Individual Defendants and Deltek violated
9    Section 20(a) of the 1934 Act.
10         75.     As set forth above, the Individual Defendants and Deltek had the ability
11   to exercise control over and did control a person or persons who have each violated
12   Section 14(e) of the 1934 Act and Rule 14a-9, by their acts and omissions as alleged
13   herein. By virtue of their positions as controlling persons, these defendants are liable
14   pursuant to Section 20(a) of the 1934 Act.
15         76.     As a direct and proximate result of defendants’ conduct, plaintiff and the
16   Class are threatened with irreparable harm.
17         77.     Plaintiff and the Class have no adequate remedy at law.
18                                    PRAYER FOR RELIEF
19         WHEREFORE, plaintiff prays for judgment and relief as follows:
20         A.      Enjoining defendants and all persons acting in concert with them from
21   proceeding with, consummating, or closing the Proposed Transaction;
22         B.      In the event defendants consummate the Proposed Transaction,
23   rescinding it and setting it aside or awarding rescissory damages;
24         C.      Directing the Individual Defendants to file a Solicitation Statement that
25   does not contain any untrue statements of material fact and that states all material
26   facts required in it or necessary to make the statements contained therein not
27   misleading;
     CLASS ACTION COMPLAINT - 13
            Case 2:17-cv-01601-RAJ Document 1 Filed 10/27/17 Page 14 of 14



1           D.     Declaring that defendants violated Sections 14(e), 14(d), and 20(a) of the
2    1934 Act, as well as Rule 14a-9 promulgated thereunder;
3           E.     Awarding plaintiff the costs of this action, including reasonable allowance
4    for plaintiff’s attorneys’ and experts’ fees; and
5           F.     Granting such other and further relief as this Court may deem just and
6    proper.
7                                         JURY DEMAND
8           Plaintiff hereby demands a trial by jury.
9

10          DATED this 27th day of October, 2017.

11                                                BRESKIN JOHNSON & TOWNSEND, PLLC
12
                                                  By: /s/ Roger M. Townsend
13                                                   Roger Townsend, WSBA # 25525
14                                                   1000 Second Avenue, Suite 3670
                                                     Seattle, Washington 98104
15                                                   206-652-8660 Phone
                                                     206-652-8290 Fax
16                                                   rtownsend@bjtlegal.com
17                                                OF COUNSEL:
18
                                                  RIGRODSKY & LONG, P.A.
19
                                                  By: /s/ Brian D. Long
20                                                   Brian D. Long
                                                     2 Righter Parkway, Suite 120
21                                                   Wilmington, DE 19803
22                                                   302-295-5310
                                                     BDL@rl-legal.com
23                                                Attorneys for Plaintiffs

24

25

26
27
     CLASS ACTION COMPLAINT - 14
